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         IN THE UNITED STATES DISTRICT COURT
            EASTERN DISTRICT OF ARKANSAS
                  NORTHERN DIVISION

ANTREZE KNOWLES
ADC #179667                                                   PLAINTIFF

                        No. 3:25-cv -57-DPM

CHRISTOPHER MORRIS, Sergeant,
Grimes Unit, ADC; CORLISS JORDAN,
Corporal, Grimes Unit, ADC; and
RAMONA WREN, Nurse, Grimes Unit,
ADC                                                        DEFENDANTS

                             JUDGMENT
    Knowles's complaint is dismissed without prejudice.


                                                    '
                                D.P. Marshall Jr.
                                United States District Judge

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